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                        UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA ex rel.
 JOSEPH SEIKEL and TERENCE SEIKEL,

        Plaintiffs/Relators,

 v.                                                     Case No.: 1:23-cv-01

 DAVID B. ALVAREZ; APPLIED                               JOINT STIPULATION
 CONSTRUCTION SOLUTIONS, INC.;
 ENERGY TRANSPORTATION, LLC;
 ENERGY RESOURCE GROUP, LLC;
 ET360, LLC; BEAR CONTRACTING, LLC;
 BEAR UTILITIES, LLC; JASON P.
 HENDERSON; and JOHN DOES NOS. 1-50,
 FICTITIOUS NAMES;

        Defendants.


       All parties previously agreed that responsive pleadings to Relator Joseph Seikel and

Terrence Seikel’s (collectively “Relators”) Complaint would be filed 21 days after the Motion to

Transfer was resolved. On January 4, 2023, the Eastern District of Pennsylvania granted the

Alvarez Defendants’ Motion to Transfer, and this Court subsequently ordered a status conference

set for February 7, 2023.

       IT IS HEREBY STIPULATED AND AGREED, by and among the undersigned that the

time within which Defendants David B. Alvarez, Applied Construction Solutions, Inc., Energy

Transportation, LLC, Energy Resource Group, LLC, ET360, LLC and Jason P. Henderson may

file responsive pleadings to Relators’ Complaint is extended to and through February 28, 2023.

       Dated: January __, 2023.

SO ORDERED:


____________________________
Honorable Thomas S. Kleeh
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AGREED:

DAVID B. ALVAREZ; APPLIED                         UNITED STATES OF AMERICA
CONSTRUCTION SOLUTIONS, INC.;                     ex rel. JOSEPH SEIKEL and
ENERGY TRANSPORTATION, LLC                        TERENCE SEIKEL



/s/ Marc R. Weintraub__________________           /s/ Andrew Miller________________
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ENERGY RESOURCE GROUP, LLC;
ET360, LLC; and JASON HENDERSON



/s/ Shawn Morgan___________________
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